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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
 2
     428 J Street, Suite 355
 3   Sacramento, CA 95814
     (916) 443-8055
 4
 5   Attorney for James Bradley
 6
 7                              UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                       CR. No.: CR. S-12-080 TLN
11                 Plaintiff,                      DEFENDANT JAMES BRADLEY’S
12                                                 WAIVER OF PERSONAL APPEARANCE
            vs.
13
14   JAMES BRADLEY, et al.,
15                 Defendants.
16
17          Defendant, James Bradley, hereby waives his right to be personally present in
18   open court for the hearing of any status conference, motion or other proceeding in this
19   case, except that he will agree to be personally present for any plea, sentencing or jury
20   trial, and he agrees to be personally present in court when so ordered by the court.
21          Defendant Bradley hereby requests the Court to proceed during any absence of the
22   defendant which the Court may permit pursuant to this waiver. Defendant agrees that his
23   interests will be deemed represented at all times by the presence of his attorney or
24   designee, the same as if defendant were personally present. Defendant further agrees to
25   be present in court ready for trial on any date set by the court in defendant’s absence.
26          Defendant Bradley further acknowledges that he has been informed of his rights
27   under Title 18 U.S.C. 3161-3174 of the Speedy Trial Act and authorizes his counsel to set
28   times and delays under the Act without his being present.




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 2
     DATED:                        I consent to the above waiver of personal appearance.
 3
                                   /s/ _____________________________
 4                                 JAMES BRADLEY
 5
 6
 7   DATED: April 15, 2013         I agree to the above waiver of personal appearance.
 8                                 /s/______________________________
 9                                 CLEMENTE M. JIMÉNEZ
10
11
     DATED: April 23, 2013   I approve the above waiver of personal appearance.
12
13
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15
                                  Troy L. Nunley
16
                                  United States District Judge
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